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                  UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION



    UNITED STATES OF AMERICA                |
                                            |
    v.                                      |        Case No. 1:19-CR-62
                                            |
    SAU HOONG LEE,                          |
                                            |
          Defendant                         |


             MOTION TO RECOMMEND PRISON ASSIGNMENT
          Counsel for the Defendant in his sentencing memorandum, requested the

    Court to recommend that the Bureau of Prisons assign her to FCI Dublin,

    California to serve her sentence because her younger daughter lives in

    California. Counsel forgot to re-new his request in open Court on October 4,

    2019, but does so in this motion.

                               Respectfully submitted

                                                    /s/
                               B.R. Hicks
                               Virginia Bar Number 15712
                               Attorney for Defendant, Sau Hoong Lee
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                               (703) 354-4000
                               (703) 354-4298 (fax)
                               billhickslaw@gmail.com

                           CERTIFICATE          OF   SERVICE

          I certify that on the 7th day of October, 2019, I electronically filed the

    foregoing with the Clerk of the Court using the CM/ECF system, which will then



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    send a notification of such filing (NEF) to the following:


    Gordon Kromberg, Esquire
    Special Assistant United States Attorney
    2100 Jamieson Avenue
    Alexandria, Virginia 22314

                                                       /s/
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